                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                              CIVIL ACTION NO. 19-10242-GAO

                                     ADAM CAMOBRECO,
                                          Plaintiff,

                                                 v.

                                      IBM CORPORATION,
                                           Defendant.


                                MEMORANDUM AND ORDER
                                    September 18, 2019

O’TOOLE, D.J.

       This suit arises from the defendant IBM Corporation’s refusal to pay the plaintiff Adam

Camobreco a commission he claims he is owed. The plaintiff’s amended complaint alleges claims

against IBM for violation of Massachusetts Payment of Wage Law (Count I); breach of contract

(Count II); unjust enrichment (Count III); and quantum meruit (Count IV). Now pending before

this Court are the defendant’s motion to dismiss under Federal Rules of Civil Procedure 12(b)(6)

and the plaintiff’s motion for time to conduct discovery.

       IBM argues that the plaintiff has not alleged an enforceable oral contract and, even if he

had, that his claims would be foreclosed by the plain language of the Incentive Plan Letter (“IPL”)

that IBM argues governs the plaintiff’s rights to commission payments. IBM asserts that the Court

may consider the IPL attached to its motion to dismiss without converting the motion into one for

summary judgment. In response, the plaintiff asserts that the Court should not consider the IPL

because it was not referred to in the complaint and is not obviously integral to it. He further urges

that if the Court were inclined to consider the IPL, then the pending motion should be converted
into one for summary judgment and he should have the opportunity to conduct discovery under

Rule 56(d).

       After review of the pleadings and motion papers, I agree with the plaintiff. The defendant’s

motion to dismiss (dkt. no. 11) is DENIED. The plaintiff’s motion for time to conduct discovery

pursuant to Rule 56(d) (dkt. no. 7) is moot.

       It is SO ORDERED.

                                                            /s/ George A. O’Toole, Jr.
                                                            United States District Judge




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